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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


 CONSUMER FINANCIAL PROTECTION
 BUREAU, et al.

                     Plaintiffs,                 Case No. 24-cv-00040-EAW-MJR

vs.

 STRATFS, LLC f/k/a STRATEGIC
 FINANCIAL SOLUTIONS, LLC, et al.

                     Defendants, and

 DANIEL BLUMKIN, et al.,

                     Relief Defendants.



             NOTICE OF RECEIVER’S EMERGENCY MOTION FOR
          AN ORDER TO SHOW CAUSE WHY INTERVENOR LAW FIRMS
                SHOULD NOT BE HELD IN CIVIL CONTEMPT

Moving Party:                             Receiver, Thomas W. McNamara

Nature of Action:                         Consumer Fraud

Directed To:                              Plaintiffs, Defendants, Relief Defendants, and
                                          Intervenor Law Firms

Date and Time:                            As soon as practicable.

Place:                                    Robert H. Jackson United States Courthouse
                                          2 Niagara Square, Buffalo, New York 14202

Supporting Papers:                        Memorandum of Law; Declaration of Joseph
                                          O’Donnell with attached exhibit(s).

Answering Papers:                         To be filed on schedule as determined by the Court.
                                          The Receiver intends to file a reply.

Relief Requested:                         An Order Holding Intervenor Law Firms in Civil
                                          Contempt, ordering their immediate compliance
                                          with the Court’s order at the April 22nd hearing
                                          regarding communications with consumers, to pay
                                          an appropriate sanction of $1,000 per day, per Law


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                                   Firm, until the contempt is purged, and be liable to
                                   the Receivership Estate for the attorneys’ fees
                                   necessary to bring this motion.

Grounds for Relief:                This Court’s Preliminary Injunction and the Court’s
                                   oral instructions at the April 22nd hearing regarding
                                   communications with consumers.

Oral Argument:                     Because civil contempt requires that the alleged
                                   contemnor receive an opportunity to respond and to
                                   be heard at an in-person hearing prior to any finding
                                   of contempt, a briefing and hearing schedule should
                                   be set to allow the Intervenor Law Firms a full and
                                   fair opportunity to be heard.

Dated: May 6, 2024

                                   MCNAMARA SMITH LLP

                                   By:    /s/ Logan D. Smith
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                                   Alexander D. Wall (Pro Hac Vice)
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                                   Attorneys for Court-appointed Receiver,
                                   Thomas W. McNamara




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